                   Case 4:23-cv-00163-MW-MJF Document 5 Filed 04/27/23 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     NorthernDistrict
                                                  __________ Districtof
                                                                      of__________
                                                                        Florida

                                                                   )
  WALT DISNEY PARKS AND RESORTS U.S., INC                          )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                         Civil Action No. 4:23-cv-00163-MW-MAF
                                                                   )
                                                                   )
               RONALD D DESANTIS, et al,                           )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) RONALD D. DESANTIS
                                           OFFICE OF THE GOVERNOR
                                           400 S. MONROE STREET
                                           TALLAHASSEE, FL 32399




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: ADAM C. LOSEY
                                           LOSEY PLLC
                                           1420 EDGEWATER DR.
                                           ORLANDO, FL 32804
                                           docketing@losey.law


       If you fail to respond, judgment by default will be entered against
                                                                    g      yyou for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK
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Date:             04/27/2023                                                       /s/ Samantha Buckhalt, Deputy Clerk
                                                                                       Signature
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                                                                                               ure of Clerk or Deputy Clerk
                     Case 4:23-cv-00163-MW-MJF Document 5 Filed 04/27/23 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 4:23-cv-00163-MW-MAF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
